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                        IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

 ZERMATT HOLDINGS, LLC, et al.,                  :       Case No. 3:23-cv-01423-JJH
                                                 :
                                Plaintiffs,      :       Judge Jeffrey J. Helmick
                                                 :
 v.                                              :
                                                 :
 MARTIN CHRISTOPHER (“CHRIS”)                    :       JOINT STIPULATION OF DISMISSAL
 COOPER, et al.,                                 :       WITH PREJUDICE
                                                 :
                               Defendants.

       Now comes Plaintiffs Zermatt Holdings, LLC and WFA of San Diego, LLC, and

Defendants Martin Christopher “Chris” Cooper and Chris Cooper & Company, Inc., by and

through their respective counsel, and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) and the terms of

the parties’ written settlement agreement dated October 3, 2024, hereby jointly stipulate to the

dismissal of this action, including all claims within the Plaintiffs’ complaint, with prejudice and in

their entirety. Each party shall bear their own costs, including attorney’s fees.



Respectfully submitted,


 /s/ Peter A. Saba                                   /s/ Philip R. Bautista - per email authorization
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 Attorneys for Plaintiffs Zermatt Holdings,          Attorneys for Defendants Martin
 LLC and WFA of San Diego, LLC                       Christopher Cooper and Chris Cooper &
                                                     Company, Inc.

                                                                                    So Ordered.
                                                     1                              s/ Jeffrey J. Helmick
                                                                                    United States District Judge
